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Attorneys for Defendant,
National Credit Systems, Inc.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

GABRIELA BRILEY, individually
and on behalf of all others similarly
situated,

Plaintiff,
V.

NATIONAL CREDIT SYSTEMS,
INC.,

Defendant.

 

Case No.: 5:16-cv-01531-GHK-DTB

DEFENDANT’S ANSWER AND
AFFIRMATIVE DEFENSES

Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, Defendant

National Credit Systems, Inc. (“Defendant”) submits this Answer to Plaintiffs

Complaint and Affirmative Defenses. Defendant denies each and every allegation

in the Complaint unless otherwise set forth in this Answer.

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INTRODUCTION

1. Defendant admits that Plaintiff purports to bring an action under the
Telephone Consumer Protection Act but denies that Defendant has violated the
law or is liable to Plaintiff in any amount.

2. Defendant admits that Plaintiff purports to bring an action under the
Telephone Consumer Protection Act but denies that Defendant has violated the
law or is liable to Plaintiff in any amount.

3. Defendant admits that Plaintiff purports to bring an action under the
Fair Debt Collection Practices Act and the Rosenthal Fair Debt Collection
Practices Act but denies that Defendant has violated the law or is liable to
Plaintiff in any amount.

JURISDICTION AND VENUE

4, Defendant lacks sufficient information to admit or deny the
allegations in this paragraph and therefore denies same.

5. Defendant lacks sufficient information to admit or deny the
allegations in this paragraph and therefore denies same.

PARTIES
6. Defendant lacks sufficient information to admit or deny the

allegations in this paragraph and therefore denies same.

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7. Defendant admits that is a “debt collector” as defined in the FDCPA
and the RFDCPA. Defendant also admits that it was retained to collect a balance
owed or alleged to be owed by Plaintiff. Defendant lack sufficient information to
admit or deny the allegations in this paragraph and therefore denies same.

8. Defendant lacks sufficient information to admit or deny the
allegations in this paragraph and therefore denies same.

FACTUAL ALLEGATIONS - TCPA

9. Defendant lacks sufficient information to admit or deny the
allegations in this paragraph and therefore denies same.

10. Deny.

11. Admit.

12. Defendant lacks sufficient information to admit or deny the
allegations in this paragraph and therefore denies same.

13. Deny.

FACTUAL ALLEGATIONS - FDCPA

14. Upon information and belief, admit.

15. Defendant lacks sufficient information to admit or deny the
allegations in this paragraph and therefore denies same.

16. Deny.

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17. Deny.
18. Deny.
CLASS ACTION ALLEGATIONS
19. Defendant admits Plaintiff brings this action on behalf of herself and
a proposed class of persons who Plaintiff contends are similarly situate, but
denies that certification is proper pursuant Fed. R. Civ. Proc. 23.

20. This paragraph was omitted from the Complaint.

21. Deny.
22. Deny.
23. Deny.
24. Deny.
25. Deny.
26. Deny.
27. Deny.
28. Deny.
29. Deny.
30. Deny.

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FIRST CAUSE OF ACTION
Negligent Violations of the Telephone Consumer Protection Act
47 U.S.C. § 227 et seq.

31. Defendant reasserts its prior responses as if fully set forth in this

paragraph.
32. Deny.
33. Deny.
34. Deny.

SECOND CAUSE OF ACTION
Knowing and/or Willful Violations of the Telephone Consumer Protection
Act
47 U.S.C. § 227 et seq.

35. Defendant reasserts its prior responses as if fully set forth in this

paragraph.
36. Deny.
37. Deny.
38. Deny.

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THIRD CAUSE OF ACTION
Violation of the Federal Fair Debt Collection Practices Act
15 U.S.C. § 1692 et seq.
39. Defendant reasserts its prior responses as if fully set forth in this
paragraph.
40. Deny.
FOURTH CAUSE OF ACTION
Violations of the Rosenthal Fair Debt Collection Practices Act
Cal. Civ. Code § 1788 et seq.

41. Defendant reasserts its prior responses as if fully set forth in this

 

 

paragraph.
42. Deny.
AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
(Failure to State Cause of Action)
1. Plaintiffs Complaint, and each cause of action contained therein,

fails to state facts sufficient to constitute a valid cause of action against

Defendant.

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SECOND AFFIRMATIVE DEFENSE
(Statute of Limitations)

2. Defendant is informed and believes and based thereon alleges that
Plaintiff's Complaint, and each cause of action contained therein, or portions
thereof, is barred by the applicable statutes of limitations.

THIRD AFFIRMATIVE DEFENSE
(NO ATDS)

3. As a separate, affirmative defense, Defendant asserts that Defendant

does not employ an automatic telephone dialing system as defined by the TCPA.
FOURTH AFFIRMATIVE DEFENSE
(Mitigation of Damages)

4. Plaintiff and the putative class are not entitled to recover any
damages, or any recovery awarded should be reduced by the amount of damages
which reasonably could have been avoided, because they failed to take
reasonable steps to mitigate their damages with respect to the matters alleged in

the Complaint.

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FIFTH AFFIRMATIVE DEFENSE
(Bona Fide Error)

5. As a separate, affirmative defense, assuming arguendo that
Defendant violated a statute alleged in the Complaint, which presupposition
Defendant denies, such violation was not intentional and resulted from a bona
fide error, notwithstanding the maintenance of procedures reasonably adapted to
avoid any such error.

SIXTH AFFIRMATIVE DEFENSE
(Maintained Reasonable Procedure)

6. As a separate, affirmative defense, Defendant alleges that all times

alleged in the Complaint, Defendant maintained reasonable procedures created to

prevent any type of intentional or negligent violations of the FDCPA or the

 

Rosenthal Act.
SEVENTH AFFIRMATIVE DEFENSE
(Equitable Defenses)
7. As a separate, affirmative defense, Defendant alleges that Plaintiffs

claims are or may be, barred by the doctrines of unclean hands, laches, waiver,

and/or estoppel.

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EIGHTH AFFIRMATIVE DEFENSE
(No Intentional or Reckless Conduct)

8. As a separate, affirmative defense, Defendant contends that it did
not engage in any conduct that was outrageous, intentional and malicious or done
with reckless disregard with respect to Plaintiff or the putative class. Defendant
also alleges that it never engaged in any knowing, willful or fraudulent conduct
with respect to Plaintiff or its putative class.

NINTH AFFIRMATIVE DEFENSE
(Prior Express or Implied Consent)

9, As a separate, affirmative defense, Defendant asserts that it had
consent to call the phone number(s) at issue, either via prior express consent or
implied consent.

TENTH AFFIRMATIVE DEFENSE
(Assumption of Risk)
10. Asa separate, affirmative defense, Defendant asserts that Plaintiff or

the putative class assumed the risk of calls made by Defendant.

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ELEVENTH AFFIRMATIVE DEFENSE
(Reasonableness and Good Faith)

11. Defendant and its agents, if any, acted reasonably and in good faith
at all times material herein, based on all relevant facts and circumstances known
by them at the time they so acted, Defendant alleges that they acted lawfully and
within their legal rights, with a good faith belief in the exercise of those nghts,
and in the furtherance of legitimate business purpose. Further, Defendant acted in
good faith in the honest belief that the acts, conduct and communications, if any,
of Defendant were justified under the circumstances based on information
reasonably available to this answering Defendant. Accordingly, Plaintiff or its
putative class are barred from any recovery in this action.

TWELFTH AFFIRMATIVE DEFENSE
(No Class Action)

12. Asaseparate, affirmative defense, Defendant alleges that Plaintiffs
claims are, or may be, barred because class members are not identifiable and
because this case is not appropriate for class treatment, including, but not limited
to, lack of typicality, ascertain ability, predominance of individualized issues, and

superiority.

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THIRTEENTH AFFIRMATIVE DEFENSE
(No Standing)
13. As aseparate, affirmative defense, Defendant asserts that Plaintiff's
claims including that of the putative class, are barred for lack of standing.
FOURTEENTH AFFIRMATIVE DEFENSE
(No Damages)
14. As a separate, affirmative defense, Defendant asserts that Plaintiff

and/or the putative class suffered no actual damages.

WHEREFORE, Defendant National Credit Systems, Inc. requests that this
Court: (a) dismiss Plaintiff's Complaint with prejudice and enter judgment in
favor of Defendant; (b) award Defendant its fees and costs incurred in this
matter; and (c) grant such other and further relief as is just and proper.

Respectfully submitted,

Dated: September 29, 2016 The Moore Law Group, APC

Ramin Mahdavi
Attorneys for Defendant

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